       Case 9:17-cr-00012-DLC Document 114 Filed 09/11/17 Page 1 of 1

                                                                              FILED
                  IN THE UNITED STATES DISTRICT COURT                           SEP 11 2017
                      FOR THE DISTRICT OF MONTANA                           Cle~. l:J.S OiUict Court
                           MISSOULA DIVISION                                  District Of Montana
                                                                                   Missoula


 UNITED STATES OF AMERICA,                             CR 17-12-M-DLC-2

                       Plaintiff,
                                                              ORDER
         vs.

 NATHAN ALAN SWENSON,

                       Defendant.


      Before the Court is the Government's Motion to Amend Document 111-1.

The Court attached Document 111-1 to its Judgment as to Nathan Alan Swenson,

but inadvertently failed to seal this document. The document contains personal

information related to the referenced victims. Therefore, pursuant to Federal Rule

of Criminal Procedure 49 .1, the Court agrees that it is in the best interest of the

victims to protect their privacy.

      Accordingly, IT IS ORDERED that the Government's motion (Doc. 113) is

GRANTED. The Clerk of Court is directed to seal Document 111-1.
                      #I
      Dated this _l_I_ day of September, 20

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                                        Dana L. Christensen, Chief Judge
                                        United States District Court

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